USDC IN/ND case 2:13-cv-00145-JTM-JPK document 90 filed 04/26/21 page 1 of 2


                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

UNITED STATES OF AMERICA, ex rel. )
BRADLEY A. STEPHENS, Relator,       )
                                    )
            Plaintiff,              )
                                    )
            v.                      )             Case No. 2:13CV145
                                    )
CONRADO CASTOR, M.D.,               )
                                    )
      Defendant.                    )
____________________________________)


     JOINT MOTION FOR AN EXTENSION OF THE DISCOVERY DEADLINE

       The parties jointly move to extend the discovery deadline from May 31, 2021

until August 31, 2021 and, in support of this joint motion, state as follows:

1.     The parties have diligently and cooperatively pursued discovery, and have

       made substantial progress, including responding to each other’s written

       discovery requests, and plaintiff ’s production of documents to defendant of

       over 80,000 pages. Additionally, the parties have scheduled one deposition;

       and are discussing the scheduling of several more depositions.

2.     To complete discovery, the parties still need to take at least 6 depositions; and

       continue negotiating proposed stipulations regarding the authenticity of

       documents and signatures designed to simplify the issues at trial.

3.     The undersigned counsel for both parties have full schedules of depositions

       and judicial conferences in other cases.
USDC IN/ND case 2:13-cv-00145-JTM-JPK document 90 filed 04/26/21 page 2 of 2


                                           CONCLUSION

        For the foregoing reasons, the Court should grant the joint motion of all parties for an

extension of the discovery deadline from May 31, 2021 until August 31, 2021.

                                       Respectfully submitted,

GARY T. BELL
ACTING UNITED STATES ATTORNEY

/s/ Wayne T. Ault                                     /s/ Kevin E. Steele
WAYNE T. AULT                                         KEVIN E. STEELE
Assistant United States Attorney                      Burke Costanza & Carberry LLP
Northern District of Indiana                          156 South Washington Street
5400 Federal Plaza, Suite 1500                        Valparaiso, Indiana 46383
Hammond, Indiana 46320                                Telephone: 219-531-0134
Telephone: 219-937-5500                               Telecopy: 219-769-6806
Telecopy: 219-852-2770                                E-Mail: steele@bcclegal.com
E-Mail: wayne.ault@usdoj.gov

Counsel for Plaintiff United States of America        Counsel for Defendant Conrado Castor, M.D.




                                                 2
